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CERTIFICATE OF SERVICE

| HEREBY CERTIFY that on the 14" day of April, 2008, a copy of the foregoing
Motion to Dismiss Plaintiffs’ Claim for Punitive Damages Under FRCP Rule 12(b\(6) was
filed electronically with the Clerk of Court using the CM/ECF system. Notice of this filing
will be sent to the following by operation of the court's electronic system.

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